                                                 Case 19-62898-pmb                         Doc 28   Filed 07/30/20 Entered 07/30/20 18:36:24                                       Desc
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                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:      19-62898-PMB                                                                                                                      Trustee Name:        (300320) S. Gregory Hays
Case Name:       BAPST, DANA LEE                                                                                                                 Date Filed (f) or Converted (c): 08/15/2019 (f)
                                                                                                                                                 § 341(a) Meeting Date:       09/17/2019
For Period Ending:       06/30/2020                                                                                                              Claims Bar Date: 01/02/2020

                                                      1                                                  2                              3                            4                      5                          6

                                              Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                   (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                       Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                          and Other Costs)                                                             Remaining Assets

    1        2007 Lexus RX350, 180000 miles                                                                    5,650.00                               0.00           OA                                 0.00                        FA
             Notice of Abandonment filed on 10/3/19 . Dkt # 18.

    2        Household goods and furnishings                                                                   4,000.00                               0.00                                              0.00                        FA

    3        Piano, guitars                                                                                    3,000.00                               0.00                                              0.00                        FA

    4        everyday clothes                                                                                     200.00                              0.00                                              0.00                        FA

    5        Various Jewelry                                                                                   2,000.00                               0.00                                              0.00                        FA

    6        Cat, dog                                                                                               0.00                              0.00           OA                                 0.00                        FA
             Notice of Abandonment filed on 10/3/19 . Dkt # 18.

    7        Cash                                                                                              1,000.00                               0.00                                              0.00                        FA

    8        Checking: Delta Credit Union                                                                           1.37                              0.00                                              0.00                        FA

    9*       Contingent beneficiary in the 2006 John B Williams Irrecovable Trust (See                              0.00                        Unknown                                                 0.00               Unknown
             Footnote)
    10       Ongoing DSO's of Ex-Husband                                                                      Unknown                                 0.00                                              0.00                        FA

    11       Potential Claims arising from 2017 death of daughter                                             Unknown                                 0.00                                              0.00                        FA

    12       Malpractice Claims against Frank Marquez                                                         Unknown                                 0.00                                              0.00                        FA

   12        Assets                Totals       (Excluding unknown values)                                   $15,851.37                             $0.00                                           $0.00                      $0.00


     RE PROP# 9               1/3 interest in real property in Trust. Property is worth approximately $1.2 million. Ownership interest vests in about 7 years.




         Major Activities Affecting Case Closing:
                                         Trustee is reviewing the value of the contingent interest in the Trust and real property within the Trust.
                                         Trustee is reviewing the value of the contingent interest in the Trust and real property.
         Initial Projected Date Of Final Report (TFR):                        12/31/2021                                    Current Projected Date Of Final Report (TFR):                       12/31/2021
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             07/30/2020                                                        /s/S. Gregory Hays

                Date                                                           S. Gregory Hays
